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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT
MICHAEL SIMONS,                             :
     Plaintiff,                             :              3:19-CV-01547 (VAB)
                                            :
v.                                          :
                                            :
YALE UNIVERSITY,                            :
PETER SALOVEY,                              :
ROBERT ALPERN, M.D.,                        :
UNKNOWN PERSONS,                            :
     Defendants.                            :              DECEMBER 18, 2019


MEMORANDUM OF LAW IN OPPOSITION TO MOTION TO DISMISS AND MOTION
         TO STRIKE AND FOR MORE DEFINITE STATEMENT

       The Plaintiff, Dr. Michael Simons, hereby respectfully requests that the Court deny

the Defendants, Yale University, Peter Salovey, Dr. Robert Alpern, and Unknown

Persons, motion to dismiss his Complaint in its entirety and the Defendants’ motion to

strike Count 7, or, in the alternative, order the Plaintiff to provide a more definite

statement.

                                     I. BACKGROUND

       On October 1, 2019, the Plaintiff, Dr. Michael Simons, initiated the instant action

against Yale University, Peter Salovey, Dr. Robert Alpern, and Unknown Persons for

violations of Titles VII and IX, breach of contract and of the implied warranty of fair dealing,

wrongful discharge, negligent infliction of emotional distress, and breach of right to

privacy. In 2008, Dr. Simons accepted employment at Yale University in a number of

separate and distinct positions: a tenured faculty position, an endowed professorship

entitled the Robert W. Berliner Professorship of Medicine, Chief of Cardiovascular

Medicine at Yale-New Haven Hospital, and Director of the Yale Cardiovascular Research
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Center. Compl. ¶¶ 8, 10. He enjoyed the acclaim of the international medical community

and the unparalleled respect of his colleagues. Id. at ¶ 8.

       In 2010, Dr. Simons sent a love letter to a junior colleague, Dr. Jane Doe, declaring

his love and romantic interest in her. Id. at ¶ 18. Dr. Doe clearly rebuffed Dr. Simons’

interest in her, and, after several emails between the two, Dr. Simons ceased

communicating with her in 2011. Id. at ¶ 18. Dr. Jane Doe subsequently developed a

romantic relationship with another colleague, Dr. Robert Roe, who experienced some

professional difficulties at Yale Medical School. Id. at ¶ 19. Drs. Doe and Roe blamed Dr.

Simons for these difficulties, and Dr. Doe filed a complaint against Dr. Simons with Yale

University’s University-Wide Committee On Sexual Misconduct (hereinafter, “UWC”). Id.

at ¶ 19. After a lengthy investigation by retired Connecticut Superior Court Judge Beverly

Hodgson, the UWC concluded that Dr. Simons had sexually harassed Dr. Doe and

suspended him as chief of cardiology for a period of five years – a suspension later

reduced to 18 months by the provost. Id. at ¶ 21. The discipline imposed by the UWC did

not touch any of the other positions that Dr. Simons held.

       Despite the supposed confidentiality of the UWC proceedings, an unknown

person(s) leaked the details of the discipline imposed on Dr. Simons to the media. Id. at

¶ 21. Facing immense public pressure, the Defendants forced Dr. Simons to resign as

Chief of Cardiology and stripped him of his position as Director of the Cardiovascular

Research Center at Yale University despite his refusal to resign. Id. at ¶ 23. Dr. Simons

complained to the Defendants about the leak of supposedly confidential information to

the press, but the Defendants took no action to investigate the matter. Id. at ¶ 24. Despite

the additional discipline imposed on him, Dr. Simons retained his position as the Robert
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W. Berliner Professor of Medicine during his suspension, which enabled him to attract

research grants and compensation. Id. at ¶ 25. Dr. Simons successfully completed his

discipline and remained in good standing with Yale University’s faculty. Id. at ¶ 25.

       In early 2018 at the height of the #MeToo movement, Dr. Simons became the

victim of another set of leaks about his UWC discipline. Id. at ¶ 27. This time, the leakers

deliberately informed the Berliner family, which endowed the Robert W. Berliner

Professorship of Medicine, of Dr. Simons’ UWC discipline. Id. at ¶ 27. Predictably, the

Berliner family contacted the Defendants and demanded that Dr. Simons be removed

from their endowed professorship. Id. at ¶ 28. The Defendants decided to draw a middle

line by placating the Berliner family and #MeToo activists and avoiding a potential lawsuit

from Dr. Simons. Id. at ¶ 28. Consequently, they proposed to Dr. Simons that he transfer

his endowed professorship to the Waldemar Von Zedwitz Professor of Cardiology

position, to which Dr. Simons reluctantly agreed. Id. at ¶¶ 29-30.

       Immediately upon public announcement of the transfer, #MeToo activists and

sympathizers unleashed a torrent of complaints and expressions of outrage on the

Defendants. Id. at ¶ 32. When the Defendants rebuffed their initial complaints, the activists

and the sympathizers turned to the media to make their case. Id. at ¶ 36. The Defendants

finally caved, and, on September 20, 2018, they issued Dr. Simons an ultimatum: Resign

in under 24 hours or be stripped of the Waldemar Von Zedtwitz Professorship. Id. at ¶ 38.

Dr. Simons refused to acquiesce to this demand and sought emergency injunctive relief

in Connecticut state court, which denied his request for emergency relief. Id. at ¶ 39. The

Defendants subsequently stripped him of his endowed professorship on September 21,

2018. Id. at ¶ 39.
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       Given the emergency nature of his state action, Dr. Simons withdrew it without

amending it so he could explore his legal options and prepare a more adequate complaint.

He timely complained to the appropriate administrative agencies: the Federal Department

of Education, the federal Equal Employment Opportunity Commission (“EEOC”), and the

Connecticut Commission on Human Rights (“CHRO”). Id. at ¶ 41. He received releases

of jurisdiction from the EEOC and the CHRO, but the federal Department of Education

never acknowledged his complaint. Id. at ¶ 41.

       He then proceeded to bring this action on October 1, 2019, and he remains an

employee of Yale University. Id. at ¶ 42.

                                       II. ARGUMENT

       As a preliminary matter, Dr. Simons does not contest the Defendants’ argument

that he has not pled diversity jurisdiction because it would be futile to plead it in this

action. To the extent diversity jurisdiction is pled in paragraph 2 of the complaint, Dr.

Simons believes that it was a drafting error. Regarding the Defendants’ supplemental

jurisdiction arguments, Dr. Simons has stated plausible claims that fall within the Court’s

federal question jurisdiction under 28 U.S.C. § 1331 as discussed in detail below. Dr.

Simons relies on the well-established principles regarding the Court’s supplemental

jurisdiction under 28 U.S.C. § 1367 to establish jurisdiction for his state law claims.

A. THE COURT SHOULD DENY THE DEFENDANTS’ MOTION TO DISMISS
   BECAUSE IT CALLS FOR THE COURT TO DRAW INFERENCES ADVERSE TO
   THE PLAINTIFF IN DIRECT CONTRADICTION OF THE MOTION TO DISMISS
   STANDARD.

       Under Fed. R. Civ. P. 8(a), a complaint must contain a “short and plain statement

of the claim showing that the pleader is entitled to relief.” A claim that fails to “state a claim

upon which relief can be granted” will be dismissed. Sterling v. Securus Technologies,
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Inc., No. 3:18-CV-1310 (VAB), 2019 WL 3387043, at *3 (D. Conn. Jul. 26, 2019) (quoting

Fed. R. Civ. P. 12(b)(6)) (internal quotations omitted). Courts review complaints

challenged by a motion to dismiss under a “‘plausibility standard’ guided by ‘two working

principles.’” Id. at *3 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

       The first principle is that “threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Id. at *3 (quoting Iqbal, 556

U.S. at 678). Therefore, a complaint requires “more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do.” Id. at *3 (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

       The second principle is that “only a complaint that states a plausible claim for relief

survives a motion to dismiss.” Id. at *3 (quoting Iqbal, 556 U.S. at 679). Consequently, a

complaint must include enough “factual amplification… to render a claim plausible.” Id. at

*3 (quoting Arista Records LLC v. Doe 3, 604 F.3d 110, 120 (2d Cir. 2010) (internal

quotation and citation omitted)).

       During the review of the complaint on a motion to dismiss under Rule 12(b)(6),

courts must take “all factual allegations in the complaint as true.” Id. at *3 (citing Iqbal,

556 U.S. at 678). Furthermore, court must also view “the allegations in the light most

favorable to the plaintiff and [draw] all inferences in the plaintiff’s favor.” Id. at *3 (citing

Cohen v. S.A.C. Trading Corp., 711 F.3d 353, 359 (2d. Cir. 2013)).

   1. The Court Should Deny The Defendants’ Motion To Dismiss Count One
      Because The Plaintiff Pleads Sufficient Plausible Facts And The Statute of
      Limitations Does Not Bar His Claim.

       The well-established elements of a breach of contract claim are “the formation of

an agreement, performance by one party, breach of the agreement by the other party and
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damages.” U.S. Bank Assoc. v. Eichten, 184 Conn. App. 727, 761 (2018) (internal

quotation and citation omitted). Dr. Simons has alleged the existed of a written contract

between Yale University and himself, which the Court must accept as true for purposes

of considering the Defendants’ motion to dismiss. Compl. at ¶¶ 8-9. Furthermore, there is

no question that an agreement was formed between Yale University and Dr. Simons. On

May 22, 2008, Yale University sent Dr. Simons an offer of employment at Yale University.

See Exhibit 1 – Dr. Simons’ Offer Letter. Dr. Simons accepted that offer, thus forming

a contract between Yale University and himself.

       Moreover, every aspect of an employer-employee relationship is not governed by

an express contract. Gaudio v. Griffin Health Services Corp., 249 Conn. 523, 532 (1999).

“It is firmly established that ‘statements in an employer’s personnel manual may… under

appropriate circumstances… give rise to an express or implied contract between

employer and employee.’” Id. at 532 (quoting Magnan v. Anaconda Indus., Inc., 193

Conn. 558, 564 (1984)); see also Rafalko v. University of New Haven, 129 Conn. App. 44

(2011). As part of the agreement formed between Yale University and himself, Dr.

Simons agreed to familiarize himself with “[p]olicies for faculty” as set forth in the “Yale

University Faculty Handbook.” Id. at p.1, ¶ 3. Yale University described these policies as

representing “essential employment understandings between you and the University.” Id.

at p.1, ¶ 3. Furthermore, the contract indicates that the Faculty Handbook would be

revised periodically and the revisions would become part of the essential employment

understandings. Id. at p., ¶ 3 (“you are urged to read the Faculty Handbook with care,

including revisions of the Handbook that are made periodically and become part of these

understandings”).
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       As of August 22, 2019, the policies and information set forth in the Faculty

Handbook constituted 183 pages. See Exhibit 2 – Yale University Faculty Handbook.

The Handbook devotes a grand total of two and half pages to discussing sexual

misconduct, instructing faculty to view other websites and the University-Wide Committee

on Sexual Misconduct’s (UWC) policies and procedures. Id. at p. 175-77. Consequently,

the plain language of the contract formed between Yale University and Dr. Simons

indicates that the Faculty Handbook outlines material terms of the agreement between

them. The plain language also indicates that the contract also contemplated the possibility

of revisions and sought to bind Dr. Simons to those revisions, which he agreed to. Those

revisions included the revision establishing the UWC as Yale University’s method of

handling allegations of sexual misconduct. The current Faculty Handbook clearly

indicates that the UWC handled all instances of sexual misconduct. Id. at p. 175.

       Yale University’s bold assertion that Dr. Simons did not perform his part under the

contract by engaging in sexual misconduct falls flat for several reasons. First, Yale

University hired an independent investigator to investigate whether Dr. Simons engaged

in sexual misconduct by sexually harassing a colleague. Compl. at ¶ 20. After reviewing

the investigator’s findings of fact, Yale’s UWC concluded that Dr. Simons had sexually

harassed a colleague, but did not recommended termination or the removal of Dr. Simons

from his endowed chair. Id. at ¶¶ 21, 25. Instead, the UWC recommended that Dr. Simons

be suspended from his position as chief of cardiology for five years. Id. at ¶ 21. Second,

and even more notably, the provost declined to adopt this harsh recommendation and

suspended Dr. Simons for 18 months. Id. at ¶ 21. Third, Yale University only forced Dr.

Simons to resign as Chief of Cardiology at Yale-New Haven Hospital and as Director of
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the Cardiovascular Research Center at Yale University after someone with knowledge of

the UWC disciplinary proceedings leaked confidential information regarding his discipline

to the media. Id. at ¶ 23-24. Fourth, Dr. Simons retained his endowed chair throughout

his suspension, successfully completed his suspension, and maintained his position as a

member in good standing with Yale University’s faculty. Id. at ¶ 25. Since his 2013

suspension, Dr. Simons did not commit any further instances of sexual harassment.

However, in 2018 – five years after Dr. Simons’ suspension, Yale University moved to

strip him of his endowed chair due to more media attention created by more leaks of

confidential information to the media. Id. at ¶¶ 27-31, 35-39.

       The question begs to be asked and Dr. Simons is asking it with through this lawsuit:

Why did Yale University fail to terminate Dr. Simons or strip him of his endowed chairs

based on its own investigation? Why did it take media and public attention – the result of

illicit leaks of confidential information by Yale University employees – for Yale University

to strip Dr. Simons of his endowed chairs? The answer is simple. Based on its own

findings and investigation, Yale University determined that, while Dr. Simons had

conducted himself in a way that it thought should be disciplined, he had not committed an

egregious violation of Yale University’s policies that would constitute a breach of his

contract with them and would require his termination. Dr. Simons completed his

suspension with fortitude despite his disagreement with it. He maintained his good

standing on the faculty, and he did not engage in any other conduct that Yale University

needed to discipline him for. Id. at ¶ 25. In summary, Dr. Simons performed his part of

the contract between himself and Yale.
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       To the extent the Defendants construe Count One of the Plaintiff’s Complaint to

only claim a breach for suspending him in 2013, the Defendants first fail to carefully read

Count One and then invite the Court to construe it in the light most unfavorable to Dr.

Simons – in clear contravention of the motion to dismiss standard. Court One pleads that

Yale University breached the contract by punishing Dr. Simons twice for the same

incident. Id. at ¶ 46. Count One pleads that Yale University breached the contract by

unilaterally stripping Dr. Simons of his endowed chair in an effort to pander to a flash mob

of aggrieved #MeToo activists and sympathizers. Id. at ¶ 46. Count One pleads that Yale

University breached the contract by stripping Dr. Simons of his endowed chair without

giving him an opportunity to contest it. Id. at ¶ 46. These breaches all occurred in 2018,

well within the six-year statute of limitations that Yale University attempts to hang its hat

on. Dr. Simons never pled a claim for breach of contract against Yale University for

suspending him in 2013.

       To the extent that Yale University contests that the six-year statute of limitations

bars Dr. Simons from claiming a breach of contract for his suspension and subsequent

removals from his positions in 2013 as Chief of Cardiology and Director of the

Cardiovascular Research, Dr. Simons pleads that these incidents mark the beginning of

a continuing course of conduct on the part of the Defendants in breach of the contract.

Consequently, dismissal as it pertains to these incidents would be premature at this stage

of the action because Dr. Simons is entitled to discovery that would enable him to prove

that the Defendants engaged in a continuing course of conduct in breach of the contract.

Moreover, the Defendants will not be prejudiced because they can also raise their statute

of limitations defense in a summary judgment motion after Dr. Simons has received a
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chance to raise a question of fact about his allegations. Therefore, the Court should deny

the Defendants’ motion to dismiss Count One of Dr. Simons’ Complaint.

   2. The Court Should Deny The Defendants’ Motion To Dismiss Count Two
      Because The Defendants Breached The Implied Covenant of Good Faith And
      Fair Dealing By Acting in Bad Faith.

       As discussed in the previous section, Dr. Simons pleads a breach of the implied

warranty of fair dealing for his suspension and subsequent removals from his positions

as Chief of Cardiology and Director of the Cardiovascular Research Center in 2013 as a

course of continuing conduct on the part of the Defendants. Furthermore, he plead a

breach of the implied warranty of fair dealing for Yale University’s craven effort in 2018 to

satisfy a flash mob intent on placing Dr. Simons’ head on the spike of the #MeToo

movement.

       “Every contract carries an implied covenant of good faith and fair dealing requiring

that neither party do anything that will injure the right of the other to receive the benefits

of the agreement.” Habetz v. Condon, 224 Conn. 231, 238 (1992). The purpose of such

an implied covenant is to ensure the fulfillment and protection of the reasonable

expectations of the parties. Magnan v. Anaconda Indus., Inc., 193 Conn. 558 (1984). In

the employment context, an employee must show that the employer committed “an

impropriety which contravenes some important public policy…” in order to claim a breach

of the implied covenant of good faith and fair dealing. Carbone v. Atlantic Richfield Co.,

204 Conn. 460, 470-71 (1987). This standard has gradually evolved into a bad faith

standard, which “implies both actual or constructive fraud, or a design to mislead or

deceive another, or a neglect or refusal to fulfill some duty or some contractual obligation,

not prompted by an honest mistake as to one’s rights or duties, but by some interested
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or sinister motive….” Rafalko v. University of New Haven, 129 Conn. App. 44 (2011)

(quoting De La Concha of Hartford, Inc. v. Aetna Life Ins. Co., 269 Conn. 424, 432-33

(2004)) (internal quotation omitted).

       Yale University enticed Dr. Simons to leave his endowed professorship at

Darmouth College to accept an endowed and tenured professorship at Yale University.

Yale University led Dr. Simons to believe, by the language of its offer, that appointment

and removal from endowed professorships could only be accomplished by following the

proper procedures and process at Yale University. Exhibit 1, p. 1, ¶ 2. Dr. Simons has

alleged that he was summarily removed from his endowed professorship without Yale

University following the proper process and procedures, thus breaching its implied

warranty of fair dealing with him. Compl. at ¶¶ 48-52.

       These actions were taken in bad faith as Dr. Simons alleges. Yale University did

not arrive at the conclusion to remove Dr. Simons from his position through the careful

deliberation that its processes and procedures called for and that it promised to Dr.

Simons. Instead, the Defendants summarily stripped Dr. Simons of the position that he

bargained for, namely an endowed chair, in an effort to seek relief from the barrage of

scorn and ridicule being rained down on their heads by a flash mob of self-righteous

#MeToo activists who bore no regard for the basic principles of fairness. The Defendants

did not arrive at the decision to strip Dr. Simons of his chair because of their own careful,

independent investigation and conclusions, but rather from the pressure exerted on them

by an ill-informed rabble whose only goal was the destruction of Dr. Simons. The manner

in which the Defendants reached this decision was in clear contradiction of the promises
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that they had made to Dr. Simons, thus constituting bad faith by either a neglect or an

outright refusal to follow their contractual obligations.

       Dr. Simons has pled sufficient facts to establish a plausible claim for a breach of

the implied covenant of good faith and fair dealing. Therefore, the Court should deny the

Defendants’ motion to dismiss Count Two of the Complaint.

   3. The Court Should Deny The Defendants’ Motion To Dismiss Count 3 Of The
      Complaint Because Dr. Simons Alleges Discharge From Separate & Distinct
      Positions That Stand As Separate Employments.

       Dr. Simons does not dispute the Defendants’ assertion that he has statutory

remedies under Titles VII and IX for the same public policy violations that he seeks to

assert on his wrongful discharge claim – sex discrimination – which would bar him from

recovering on a claim on a common-law wrongful discharge claim. However, Dr. Simons

rejects the Defendants’ construction of his Complaint and requests the Court to either

construe his complaint to plead wrongful discharge in the alternative to both Title VII or

Title IX or to grant him permission to amend his complaint to plead wrongful discharge in

the alternative. Dr. Simons does not have enough information at this time to determine

whether either his Title VII or Title IX claims will be triable claims. Consequently, the Court

should allow Dr. Simons to proceed on his wrongful discharge claim because the same

discovery required for his Title VII and Title IX claims will suffice for proceeding on his

wrongful discharge claim, thus posing no additional burden upon the Defendants.

       Furthermore, Dr. Simons does not dispute that, to state a plausible claim for

wrongful discharge, he must be discharged from employment. See, e.g. Geysen v.

Securitas Sec. Services USA, Inc., 322 Conn. 385 (2016). However, Connecticut law is

not clear on whether a wrongful discharge claim requires a complete termination of all
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employment relationships or whether a wrongful discharge claim covers the termination

of a separate and distinct employment relationship, but not the complete termination of

all employment relationships between parties. Furthermore, in consideration of the strong

emphasis on public policy as the critical exception to traditional at-will employment, the

same emphasis on public policy militates against hastily assuming that a wrongful

discharge claim must allege a complete severance of a multi-faceted employment

relationship.

       The Defendants recruited Dr. Simons from Dartmouth to work for them in a number

of separate and distinct employment relationships united under the umbrella of one

contract – a fact borne out by the elaborate contract that they gave him and the position-

allocated compensation structure described in the contract. See Exhibit 1. Furthermore,

the UWC discipline imposed by the Defendants also compels this conclusion. Compl. ¶¶

21, 23. The Defendants did not suspend Dr. Simons from all of the positions that he held

under the contract. Id. Instead, they initially suspended him only as Chief of Cardiology

at Yale-New Haven Hospital, and he retained his other positions as Director of the

Cardiovascular Research Center, the Robert W. Berliner Professorship, and a tenured

faculty position at Yale University – a decision that demands the plausible inference that

his misconduct only came in that specific, separate, and distinct employment relationship

with Yale University. Id. at ¶ 21. Bowing to the #MeToo lynch mob’s pressure, the

Defendants then forced him to resign as Chief of Cardiology and terminated their

relationship with him as Director of the Cardiovascular Research Center. Id. at ¶ 23.

However, the Defendants maintained their relationships with Dr. Simons as the Robert

W. Berliner Professor and a tenured faculty member. Dr. Simons does not allege, and
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cannot allege at this time due to a lack of ready and sufficiently detailed knowledge, the

effect of these terminations on his compensation.

      Consequently, Dr. Simons’ employment relationships with Yale University fall into

three separate and distinct categories. First, Dr. Simons had an employment relationship

with Yale University as a practicing doctor, which the Defendants chose to terminate when

they stripped him of his job as Chief of Cardiology at Yale-New Haven Hospital. Second,

Dr. Simons had an employment relationship with Yale University as a medical researcher,

which the Defendants altered when they stripped him of his job as Director of the

Cardiovascular Research Center and then of the Waldemar Von Zedwitz Professorship,

which they transferred him to from the Robert W. Berliner Professorship. Third, Dr.

Simons had an employment relationship with Yale University as an educator, which the

Defendants have allowed him to retain at this time.

      Semantics can conflate the second and third categories of Dr. Simons’

employment relationships with Yale University. The Defendants, in legitimate pursuit of

public prestige and in the development of Yale University’s overall brand, have sought to

harmonize and elevate their faculty members by placing distinguished names in front of

the word “Professor” in the vein of an honorific. However, as demonstrated by the

Defendants’ actions in separating Dr. Simons’ endowed professorship from his job as a

tenured faculty member for purposes of firing him from his job as an endowed professor,

the Defendants consider “a distinguished name professor” to take on a separate and

distinct set of duties – namely, significant research and grant attraction duties – from a

regular faculty member. In other words, “a distinguished name professor” is a researcher,

not an educator, but he may also serve as an educator in a separate employment
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relationship as a regular faculty member. This point is driven home by the compensation

granted by the Defendants in Dr. Simons’ original contract for the Robert W. Berliner

Chair. See Exhibit 1, p. 1-2, ¶ 4.

      Consequently, the Defendants assert facts not before the Court at this time, which

are more appropriate for resolution on a summary judgment motion. Dr. Simons has

plausibly alleged that separate, distinct employment relationships existed between

himself and the Defendants. The Defendants wrongfully and completely discharged Dr.

Simons from at least one of those relationships, but not all of the employment

relationships between Dr. Simons and themselves. Therefore, Dr. Simons has plausibly

alleged the elements of a wrongful discharge claim, and he respectfully requests the

Court to deny the Defendants’ motion to dismiss Count 3 of the Complaint.

      Given the unique nature of the case before the Court and the lack of clarity in

Connecticut law, Dr. Simons respectfully asks the Court to certify the question of whether

a wrongful discharge claim requires a complete termination of all employment

relationships or whether a wrongful discharge claim covers the termination of a separate

and distinct employment relationship, but not the complete termination of all employment

relationships between parties to the Connecticut Supreme Court if the Court is inclined to

dismiss Dr. Simons’ claim or is unsure of how to decide it. “This Court has the discretion

to certify a question of law to the Connecticut Supreme Court ‘if the answer may be

determinative of an issue in pending litigation in the certifying court and if there is no

controlling appellate decision, constitutional provision, or statute of this state….’”

Electrical Contractors, Inc. v. Insurance Co. of Pa., No. 3:11cv1432 (VLB), 2012 WL

602321, at *1 (D.Conn. Dec. 3, 2012) (quoting Conn. Gen. Stat. ¶ 51-199b(d)). The
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question above presents a significant issue of state law because it defines how the tort of

wrongful discharge may be applied to complex and multi-faceted employment

relationships in the future. See generally Ryan v. National Union Fire Insurance Co., 692

F.3d 162, 171 (2d. Cir. 2012) (“state courts should be accorded the first opportunity to

decide significant issues of state law through the certification process”). In an increasingly

diverse business world, this type of situation is likely to recur in subsequent litigation, thus

lending support to the need for the Connecticut Supreme Court to decide this question.

See generally Caruso v. Siemens Business Communication Systems, Inc., 393 F.3d 66,

72 (2d. Cir. 2004) (justifying decision to certify questions of law to the Connecticut

Supreme Court on the grounds that “these issues are likely to recur”).

   4. The Court Should Deny The Defendants’ Motion To Dismiss Court 4 Of The
      Complaint Because Dr. Simons Pleads That The Defendants’ Conduct
      Occurred In The Process Of Terminating Him And Involved An Unreasonable
      Risk of Emotional Distress.

       Dr. Simons reserves, and request the Court to reserve its consideration of, his

claims of negligent infliction of emotional distress against the Unknown Defendants until

he can identify them. At this time, he lacks specific knowledge on whether to proceed

against them in their official capacities as agents authorized to act for Yale University or

in their personal capacities.

       Dr. Simons does not dispute that he can only state a claim for negative infliction of

emotional distress against Defendants Yale University, Peter Salovey, and Dr. Alpern

only as it pertains to unreasonable conduct in the termination process. See Perodeau v.

City of Hartford, 259 Conn. 729, 750 (2002). However, he relies on the same reasoning

that support his alternative claim of wrongful discharge contained in Count 3 of the

Complaint to allege that the Defendants’ conduct did, indeed, occur during the termination
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process pertaining to a separate and distinct employment relationship that he had with

Yale University. Consequently, he incorporates his argument for Count 3 – Wrongful

Discharge (contained in the previous section of the instant memorandum) here, and he

respectfully requests the Court to either find that the Defendants’ conduct did occur within

a termination process of a separate, distinct employment relationship that he had with

Yale University or to certify the question to the Connecticut Supreme Court. See Section

A, Subsection 3, supra.

       To prevail on the elements of a claim of negligent infliction of emotional distress,

Dr. Simons must prove that “the defendant’s conduct during the termination process was

sufficiently wrongful that the defendant should have realized that its conduct involved an

unreasonable risk of causing emotional distress and that distress, if it were caused, might

result in illness or bodily harm.” Perodeau, 259 Conn. at 751. Connecticut courts have

held that ultimatums to resign, usually accompanied by other aggravating circumstances,

constitute sufficient allegations of conduct that carried an unreasonable risk of causing

emotional distress that might result in illness or bodily harm to enable a plaintiff to survive

motions to dismiss or strike. See, e.g., Noonan v. Miller Mem'l Cmty. Home, Inc., 50 Conn.

Supp. 367, 373 (Super. Ct. 2007) (holding that allegations of demotion and replacement

by younger colleagues, issuance of a severe written reprimand, a search of the plaintiff’s

office, and an ultimatum to accept a demotion or be fired constituted sufficient allegations

to survive a motion to strike).

       The conduct upon which a plaintiff may recover is not solely limited to the

termination process itself. Laros v. International Insights, Inc., 2011 WL 1367078 (Conn.

Super. Ct. Mar. 17, 2011). A plaintiff may rely on representations made to him before his
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termination process begins, and the reliance, induced by the defendants, aggravates

what would otherwise be an innocuous termination. Id. In Laros, the defendants made

false assurances to the plaintiff that her job was secure to assuage her concerns about

her financial security, their company was on solid financial footing, and asked her to

relocate her family. Id. at *1. In reliance on the defendants’ promises, the plaintiff sold her

house, and the defendants terminated her by telephone while the moving crew was

moving her belongings out of her house. Id. at *1. The Laros court held that her

termination was done unreasonably in the context of those statements. Id. at *4.

       The instant case is very similar to Laros in that Dr. Simons did not wish to give up

the Robert W. Berliner Professorship in exchange for the Waldemar Von Zedwitz

Professorship, but that he agreed to it in reliance on the Defendants’ representations that

it was an unnecessary necessity. Compl. ¶¶ 29-30. Dr. Simons relied on the Defendants’

explanation that it was a necessity and trusted that it would not affect this employment

relationship with Yale University. However, the Defendants had other ideas, issuing Dr.

Simons an ultimatum to resign from the Waldemar Von Zedwitz Professorship in less than

24 hours or be fired. Id. at ¶ 38. When he did not resign, the Defendants summarily

terminated this specific employment relationship with him. Id. at ¶ 39.

       Furthermore, the instant case is also analogous to Noonan in the sense that the

fanning of a public assassination of Dr. Simons’ character by self-righteous and aggrieved

#MeToo sympathizers associated with the Defendants provided an aggravating context

to the ultimatum that the Defendants issued to Dr. Simons. Just as in Noonan and Laros,

the Defendants engaged in highly unreasonable conduct that they knew to involve an
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unreasonable risk of causing emotional distress and that distress, if it were caused, might

result in illness or bodily harm.

       Consequently, Dr. Simons has alleged sufficient facts to enable his claim for

negligent infliction of emotional distress to proceed forward. Dr. Simons respectfully

requests that the Court deny the Defendants’ motion to dismiss Count 4 of the Complaint

and to reserve its consideration of Count 4 as it pertains to the Unknown Defendants until

Dr. Simons has an opportunity to identify them.

   5. The Court Should Deny The Defendants’ Motion To Dismiss Count Five
      Because The Plaintiff Has Alleged Enough Facts To Support A Plausible
      Inference That The Defendants Acted With Impermissible Bias Under Title IX
      To Deny Dr. Simons Due Process.

       To the best of counsel’s knowledge, Dr. Simons’ Title IX complaint presents an

issue of first impression: Whether a university, after a full internal adjudication of sexual

misconduct under its Title IX process, subjecting an employee to discipline for the same

instance of behavior a second time violates the due process protections afforded by Title

IX?

       In the instant action, this question arises in the familiar context of fierce emotions

and a violently passionate gender bias toward men because of the #MeToo movement.

“Title IX bars the imposition of university discipline where gender is a motivating factor in

the decision to discipline.” Yusuf v. Vassar College, 35 F.3d 709, 715 (2d. Cir. 1994); see

also 20 U.S.C. § 1681(a) (“No person in the United States shall, on the basis of sex, be

excluded from participation in, be denied the benefits of, or be subjected to discrimination

under any education program or activity receiving Federal financial assistance”). Plaintiffs

who attack a university disciplinary proceeding for gender bias generally may state two
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claims: actual innocence or selective enforcement. Id. at 715. Dr. Simons pleads a

“selective enforcement” claim.

       To state a plausible selective enforcement claim, Dr. Simons must plead that “the

severity of the penalty and/or the decision to initiate the proceeding was affected by the

[defendant’s] gender.” Id. at 715. To show that the proceeding was affected by gender

bias, Dr. Simons must make “a particularized allegation relating to a causal connection

between the flawed outcome and gender bias.” Id. at 715.

       The Defendants’ reliance on this language to assert that Dr. Simons has not made

a particularized allegation suggesting gender bias ignores the Second Circuit’s decision

in Doe v. Columbia University, 831 F.3d 46 (2d. Cir. 2016). In Doe v. Columbia University,

the Second Circuit held that the plaintiff pled sufficient facts to support a plausible

inference of sex discrimination and survive a motion to dismiss when he pled that

Columbia University was “motivated… to accept the female’s accusation of sexual assault

and reject the male’s claim of consent, so as to show the student body and the public that

the University is serious about protecting female students from sexual assault by male

students – especially varsity athletes.” 831 F.3d at 58. The Second Circuit found that

“[t]here is nothing implausible or unreasonable about the Complaint’s suggested

inference that the panel adopted a biased stance in favor of the accusing female and

against the defending male varsity athlete in order to avoid further fanning the criticisms

that Columbia turned a blind eye to such assaults.” Id. at 58. Footnote 11 of the opinion

is particularly devastating to the Defendants’ assertion:

       It is worth noting furthermore that the possible motivations mentioned by the
       district court as more plausible than sex discrimination, including a fear of
       negative publicity or of Title IX liability, are not necessarily, as the district
       court characterized them, lawful motivations distinct from sex bias. A
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       defendant is not excused from liability for discrimination because the
       discriminatory motivation does not result from a discriminatory heart, but
       rather from a desire to avoid practical disadvantages that might result from
       unbiased action. A covered university that adopts, even temporarily, a policy
       of bias favoring one sex over the other in a disciplinary dispute, doing so in
       order to avoid liability or bad publicity, has practiced sex discrimination,
       notwithstanding that the motive for the discrimination did not come from
       ingrained or permanent bias against that particular sex.

Id. at 58, n.11.

       The facts of Doe v. Columbia University are particularly instructive for the instant

action. Columbia students were openly criticizing the university for failing to take seriously

the sexual assault complaints of female students by male students. Id. at 50. The New

York Post published an article titled “Columbia drops ball on jock ‘rapist’ probe: students.”

Id. at 50. The mounting furor was led by the Columbia University Democrats, who

ironically stated that Columbia should avoid becoming the next Yale University. Id. at 51.

The foremost vocal critic of Columbia accompanied the alleged victim to the Title IX

hearing at issue in Doe v. Columbia University even though she had no prior relationship

with her. Id. at 52. Based on this environment that the plaintiff alleged, the Second Circuit

found that he had plausibly alleged an inference of sex bias. Id. at 59.

       The striking and immediately noticeable difference between Doe v. Columbia

University and the instant action is that Doe v. Columbia University concerned whether a

disciplinary hearing to determine guilt and, if necessary, punishment was biased by public

pressure. The instant case concerns whether Dr. Simons was summarily railroaded for

an offense that he had already been disciplined for without any process because of public

pressure. Consequently, two issues arise in the instant case.

       The first issue is the same one that arose in the Doe v. Columbia University case.

Due to the illicit leaking of Yale University employees, the public obtained wind of Dr.
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Simons’ past UWC discipline. Compl. ¶ 27. Concerned students and enraged advocates

from the #MeToo movement began to place tremendous pressure on Yale University for

transferring Dr. Simons to another endowed professorship. Id. at ¶¶ 32-36. Consequently,

as the result of this pressure, the Defendants reached the conclusion that Dr. Simons had

not adequately been punished for his alleged past misdeeds. Id. at ¶ 36. This conclusion

was driven by a gender-biased thought process that any form of sexual harassment

committed by a male is akin to rape no matter how small it is, thus demanding that the

male be disbelieved at every turn and destroyed at every opportunity. Therefore, due

process is neither required nor respected. The public succeeded in forcing the

Defendants to reach this discriminatory conclusion more than five years after his UWC

hearing. As a direct result of this discriminatory conclusion and the thought process

underlying it, the Defendants chose to summarily discipline Dr. Simons further instead of

affording him a hearing upon which to challenge their biased conclusions.

      The second issue is one of first impression. Having been disciplined once for his

conduct and having completed his discipline successfully, Dr. Simons was subjected to a

second round of discipline for the same misdeed even though he had not offended again.

This decision to impose a second round of discipline on Dr. Simons was motivated by the

same discriminatory intent that the decision to summarily discipline him without a hearing

was. The public leaped to the conclusion that Dr. Simons was a horrible sexual predator

with all of the eagerness of a drunken lynch mob – indeed, the public was drunk on

gender-bias stoked by the #MeToo movement’s hysteria. Therefore, the public demanded

as harsh a punishment for Dr. Simons as possible, thoroughly ignoring the fact that he

had already been disciplined. The public forced the Defendants to adopt its gender-biased
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conclusion and to cravenly acquiesce to its demand to harshly punish Dr. Simons again.

Adding insult to injury and as a full demonstration of how much the Defendants bought

into the gender-biased agenda of the #MeToo rabble, the Defendants imposed a

devastatingly harsh punishment on Dr. Simons without giving him the opportunity be

heard to contest that the punishment was unwarranted or excessive. Instead, the

Defendants gave Dr. Simons an ultimatum: Resign in less than 24 hours or be stripped

of his endowed professorship. Id. at ¶ 38. Dr. Simons refused to acquiesce to a #MeToo

lynch mob’s demands and was subsequently stripped of his endowed professorship

without the slightest opportunity to contest the move.

      Just like the plaintiff in Doe v. Columbia, Dr. Simons alleges enough facts to

support a plausible inference that the Defendants’ actions in summarily stripping him of

his endowed professorship were improperly motivated by gender bias under Title IX.

Furthermore, the Defendants’ actions in summarily stripping him of the endowed

professorship were not accompanied by any form of process, thus trampling underfoot

Dr. Simons’ due process rights under Title IX like they were organic fertilizer. Therefore,

the Court should deny the Defendants’ motion to dismiss Count Five.

   6. The Court Should Deny The Defendants’ Motion To Dismiss Count Six
      Because The Plaintiff Has Alleged Enough Facts To Support A Plausible
      Claims Of Actual Discrimination And Disparate Impact Under Title VII.

      Contrary to the Defendants’ assertion, Dr. Simons has complied with and

sufficiently pled his compliance with Title VII’s exhaustion requirement, mandating that

plaintiffs exhaust their administrative remedies. Compl. ¶ 41; see 42 U.S.C. §2000e-5(f).

Dr. Simons pled that “[h]e has received a release of jurisdiction from the EEOC and the

CHRO.” Compl. ¶ 41. While Dr. Simons did not pursue a claim under state law in a timely
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fashion, he did assert his claim under Title VII in a timely fashion. See Exhibit 3 – EEOC

Dismissal & Notice of Rights. The date of the EEOC dismissal is August 6, 2019. Id.

Dr. Simons filed the instant action on October 1, 2019, well within the 90-day deadline for

asserting his claim. Consequently, Dr. Simons’ complaint is timely despite the

Defendants’ assertions to the contrary.

       Dr. Simons pleads his Title VII claim under both an actual discrimination theory

and a disparate impact theory. Addressing Dr. Simons’ actual discrimination theory first,

Title VII declares that it is “an unlawful employment practice for an employer – (1) to fail

or refuse to hire or to discharge any individual, or otherwise to discriminate against any

individual with respect to his compensation, terms, conditions, or privileges of

employment, because of such individual’s… sex….” 42 U.S.C. § 2000e-2(a). To establish

an unlawful practice, Dr. Simons must show that sex “was a motivating factor for any

employment practice, even though other factors also motivated the practice.” 42 U.S.C.

§ 2000e-2(m); see also Yusef v. Vassar College, 35 F.3d 709, 715 (2d. Cir. 1994) (relying

on this provision of Title VII to interpret Title IX). Because of the Second Circuit’s

interdependent interpretation of Title VII’s and Title IX’s provisions concerning sex

discrimination, a precedential rule established for Title IX’s sex discrimination provision is

strongly persuasive when a similar case arises under Title VII and vice-versa. Yusef, 35

F.3d at 714 (“courts have interpreted Title IX by looking to the body of law developed

under Title VI, as well as case law interpreting Title VII”); see also Mabry v. State Bd. Of

Community Colleges & Occupational Educ., 813 F.2d 311, 316 (10th Cir.).

       Dr. Simons alleges that the Defendants’ decision to strip him of his endowed

professorship was made “for the express purpose of placating [] #MeToo activists and
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sympathizers in the grip of moral panic and self-righteous indignation.” Compl. ¶ 68.

Because the Defendants acted for the express purpose of placating a #MeToo lynch mob,

the Defendants adopted the #MeToo lynch mob’s motivations, namely, that Dr. Simons

was a Caucasian male who was guilty by accusation because he was a male accused of

making inappropriate sexual advances toward a woman. Compl. ¶ 68. The Defendants

also adopted the #MeToo lynch mob’s view that Dr. Simons needed to be punished a

second time and in the harshest way possible because he was a man accused of sexual

harassment. Compl. ¶ 64-68. Again, the Second Circuit’s interpretation of Title IX in Doe

v. Columbia is particularly poignant in the instant case:

       It is worth noting furthermore that the possible motivations mentioned by the
       district court as more plausible than sex discrimination, including a fear of
       negative publicity or of Title IX liability, are not necessarily, as the district
       court characterized them, lawful motivations distinct from sex bias. A
       defendant is not excused from liability for discrimination because the
       discriminatory motivation does not result from a discriminatory heart, but
       rather from a desire to avoid practical disadvantages that might result from
       unbiased action. A covered university that adopts, even temporarily, a policy
       of bias favoring one sex over the other in a disciplinary dispute, doing so in
       order to avoid liability or bad publicity, has practiced sex discrimination,
       notwithstanding that the motive for the discrimination did not come from
       ingrained or permanent bias against that particular sex.

831 F.3d 46, 58 n.11 (2d. Cir. 2016).

       Just because the Defendants can assert “pure” hearts and argue that they were

only worried about negative publicity does not mean that they based their decision to run

Dr. Simons out of the Waldemar Von Zedwitz Professorship on a rail with the

accompanying tar and feathers on lawful motivations distinct from sex bias. In short,

discrimination is discrimination even if it only occurs for a fleeting moment. Id. In Doe v.

Columbia, the Second Circuit held that, in a Title IX sex discrimination context, a plaintiff

pleads sufficient facts to support a plausible inference of sex discrimination and survive
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a motion to dismiss when he pleads that a university is “motivated… to accept the

female’s accusation of sexual assault and reject the male’s claim of consent, so as to

show the student body and the public that the University is serious about protecting

female students from sexual assault by male students – especially varsity athletes.” Id. at

58. Dr. Simons has pled that the Defendants have demonstrated a similarly discriminatory

motive here, thus pleading a plausible inference of sex discrimination under a Title VII

theory of actual discrimination.

       Furthermore, the Defendants’ reliance on Littlejohn v. City of New York, 795 F.3d

297, 311 (2d. Cir. 2015) does not provide them any more of a safe harbor than negative

publicity does. Dr. Simons does not quibble with the Defendants’ recitation of the

Littlejohn standard for establishing a prima facie case of discrimination under Title VII in

absence of direct evidence: “[A]bsent direct evidence of discrimination, what must be

plausibly supported by facts alleged in the complaint is that the plaintiff is a member of a

protected class, was qualified, suffered an adverse employment action, and has at least

minimal support for the proposition that the employer was motivated by discriminatory

intent.” Littlejohn, 795 F.3d at 311. However, the Defendants only recite the short form of

the Littlejohn rule, unsurprisingly omitting the full rule which deals a fatal blow to their

defense:

       If [he] makes a showing (1) that [he] is a member of a protected class, (2)
       that [he] was qualified for the position [he] sought, (3) that [he] suffered an
       adverse employment action, and (4) can sustain a minimal burden of
       showing facts suggesting an inference of discriminatory motivation, then
       [he] has satisfied the prima facie requirements and a presumption of
       discriminatory intent arises in [his] favor, at which point the burden of
       production shifts to the employer, requiring that the employer furnish
       evidence of reasons for the adverse action.
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Id. at 311 (citing Texas Dept. of Community Affairs v. Burdine, 450 U.S. 248, 253-54

(1981); St. Mary’s Honor Center v. Hicks, 509 U.S. 502, 506-07 (1993)).

       The Defendants’ own actions demonstrate that Dr. Simons was eminently qualified

for his position as the Waldemar Von Zedwitz Professor even after he was disciplined for

alleged sexual harassment. First, the Defendants allowed him to keep the Robert W.

Berliner Professorship during and after his suspension. Compl. ¶ 25. Second, they

awarded him the Waldemar Von Zedwitz Professorship after the initial barrage of negative

publicity from the #MeToo lynch mob. Compl. ¶¶ 29-31. These actions belie the

Defendants’ assertion that Dr. Simons was unqualified for his endowed professorship

because they, acting independently of the #MeToo lynch mob’s hysteria, made the

determination that he was qualified to keep the Robert W. Berliner Professorship during

and after their discipline of him. Furthermore, the Defendants also thought that Dr. Simons

was so qualified that, even after the #MeToo lynch mob came calling for Dr. Simons’ head

on a spike, they transferred him to the Waldemar Von Zedwitz Professorship. This is

certainly not the treatment that an unqualified individual would receive.

       The Defendants also misrepresent the adversity of the employment action that

they ultimately took against Dr. Simons. An endowed professorship such as the

Waldemar Von Zedwitz Professorship bestows substantial economic and professional

benefits on its holder. Endowed professorships reduce “a faculty member’s dependence

on grants, thereby increasing their financial security. It further facilitates the success of

grant applications, as the prestige of having an endowed chair reflects the applicant’s

standing in the scientific community and positively affects grant funding bodies’ view of

the applicant.” Compl. at ¶ 9. These substantial economic and professional benefits
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exceed more than $100,000 annually. Consequently, the Defendant’s adverse

employment action against Dr. Simons caused him substantial economic harm as well as

a decrease in the prestige of his professional reputation.

       Dr. Simons has already discussed the discriminatory intent element of the

Littlejohn test in his previous discussion of Doe v. Columbia. He has pled that the

Defendants adopted the sexual discriminatory intent of the #MeToo lynch mob, thus

pleading a plausible inference of sex discrimination under a Title VII theory of actual

discrimination. Therefore, the Court should deny the Defendant’s motion to dismiss Count

6 of the Complaint under the Plaintiff’s actual discrimination theory.

       Turning to Dr. Simons’ disparate impact theory, “a plaintiff must show that a facially

neutral employment policy or practice has a significant disparate impact” in order “to

establish a prima facie case of disparate impact.” Brown v. Coach Stores, Inc., 163 F.3d

706, 712 (2d. Cir. 1998) (citing Griggs v. Duke Power Co., 401 U.S. 424, 430-32 (1971)).

Dr. Simons has alleged that the Defendants’ sexual misconduct disciplinary policies has

been applied in a selectively discriminatory fashion against males. Compl. at ¶¶ 64-68.

To the best of his limited knowledge – limited because of the highly confidential nature of

the Defendants’ UWC proceedings, the Defendant alleges that only Caucasian males

have been punished twice under the Defendants’ sexual misconduct disciplinary policies

and that similarly situated women have not. Comp. at ¶¶ 66-67. These allegations are

sufficient to establish a theory of disparate impact, which the Plaintiff should be allowed

to test via discovery. Therefore, the Court should deny the Defendant’s motion to dismiss

Count 6 of the Complaint under the Plaintiff’s actual discrimination theory.
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   7. The Court Should Deny The Defendants’ Motion To Dismiss Count Seven
      Because The Plaintiff Requires More Time And The Court’s Intervention To
      Name The Unknown Defendants, And The Plaintiff Has Alleged That
      Sufficient Time Has Passed To Render The Invasion of His Privacy A Fresh
      And Actionable Tort.

       Dr. Simons only pleads his allegations in Count Seven against the persons who

went out of their way in 2018 to inform the Robert E. Berliner family of the details of his

UWC proceeding. Compl. ¶¶ 27, 68-69. Those persons, currently unknown to Dr. Simons,

may or may not be named defendants in this action or persons otherwise affiliated with

Yale University. Consequently, dismissal of Count Seven of Dr. Simons’ complaint is

premature because he has not had an opportunity to avail himself of pre-discovery

remedies that will foreseeably enable him to name the Unknown Defendants.

       Turning to the merits of Count Seven, Dr. Simons’ breach of privacy claim falls

under the “unreasonable publicity given to [the plaintiff’s] private life” category. Davidson

v. Bridgeport, 180 Conn. App. 18, 29 (2018). Unlike much of Connecticut law, a person’s

right of privacy did not come expressly from the common law, but rather from a law review

article written by Samuel Warren and Louis Brandeis. Goodrich v. Waterbury Republican-

American, Inc., 188 Conn. 107, 126 (1982) (citing Warren & Brandeis, The Right to

Privacy, 4 Harv.L.Rev. 193 (1890)). The development of the right and the breach of

privacy tort did not occur under an express common law tradition of evolution through

application, but rather through an academic tradition of theorizing. Id. at 126.

Consequently, in recognizing the tort for invasion of privacy in 1982, the Connecticut

Supreme Court relied on two guiding authorities: Prosser’s treatise on torts and the

Restatement (Second), Torts. Id. at 125-26 (citing Prosser, Torts (4th Ed. 1971) § 117, p.

802; Restatement (Second), Torts § 652A).
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       The fundamental principle of the right of privacy is “the right to be let alone.” Id. at

125-26 (citing Prosser, Torts (4th Ed. 1971) § 117, p. 802; 3 Restatement (Second), Torts

§ 652A, comment a). Warren and Brandeis both highlight this principle as the culmination

of a gradual evolution and sophistication of a civilized society that realized that “only a

part of the pain, pleasure, and profit of life lay in physical things.” Warren & Brandeis, The

Right to Privacy, 4 Harv.L.Rev. 193, 195 (1890). In accordance with this principle, the

academic tradition and, ultimately, the common law developed the antecedents to the

causes of action Connecticut has recognized for the invasion of privacy. Consequently,

the Connecticut causes of action must be viewed in the context of their historical

antecedents. Goodrich, 188 Conn. at 127-28.

       As the historical antecedents relate to the instant action, the 3 Restatement

(Second), Torts § 652D, viewed in context of the fundamental right of privacy “the right to

be let alone,” is the controlling antecedent. Id. at 132-33. Therefore, to state an actionable

claim, a plaintiff must allege that “the matter publicized is of a kind that ‘(a) would be highly

offensive to a reasonable person, and (b) is not of legitimate concern to the public.

(Emphasis added).’” Id. at 133 (quoting 3 Restatement (Second), Torts § 652D, p. 383).

The Restatement (Second) states that this cause of action “depends upon publicity given

to the private life of the individual.” 3 Restatement (Second), Torts § 652D, comment a.

There is a distinct difference, for purposes of the “private facts” cause of action, between

publicity and publication. Id. Publication, as a term of art, refers to “any communication

by the defendant to a third person.” Id. Publicity, as a term of art, “means that the matter

is made public by communicating it to the public at large, or to so many persons that the

matter must be regarded as substantially certain to become one of public knowledge.” Id.
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In short, the standard for the “private facts” publicity element is “a communication that

reaches, or is sure to reach, the public.” Id.

       The instant action presents a unique set of circumstances to the Court. The nature

of Dr. Simons’ discipline had previously been published to the media in 2013 in violation

of confidentiality that ostensibly guards UWC proceedings. Compl. ¶ 23. In reaction to the

subsequent public backlash, the Defendants forced Dr. Simons to resign from his position

as Director of Yale’s Cardiovascular Research Center, thus temporarily assuaging the

public. Id. at ¶ 23. Dr. Simons completed the discipline imposed by the Defendants and

returned to his duties, going 3-4 years without being subjected to the scorn of the public

or the media. This included almost a full year during which the #MeToo movement

inflamed the passions of ordinarily reasonable and highly intelligent people, compelling

them to become deranged maniacs hell-bent on the destruction of anyone accused of

sexual misconduct with no regard for basic principles of fairness and human decency. Id.

at ¶ 26. However, unknown defendants with knowledge of Dr. Simons’ UWC discipline

informed the Berliner family in 2018 and, through the Berliner family, re-fanned the flames

of public scorn. Id. at ¶¶ 27-28, 69-70.

       This re-publicization of Dr. Simons’ confidential UWC discipline constitutes a

breach of a proceeding in which he was assured privacy and every person acquainted

with the proceeding had an obligation to preserve its confidentiality. The publication of

such confidential information would be highly offensive to any reasonable person with an

expectation of confidentiality in a disciplinary proceeding. Furthermore, the public does

not have a legitimate interest in learning about the employment relationship between a

private individual and a private employer. Despite the previous publicization of Dr.
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Simons’ UWC discipline, sufficient time had elapsed to remove the confidential

information from the public eye. Consequently, the Court should find that the re-

publicization of the confidential UWC proceedings constitutes a fresh invasion of Dr.

Simons’ privacy and deny the Defendants’ motion to dismiss Count 7 on the merits.

B. THE COURT SHOULD DENY THE DEFENDANTS’ MOTION TO STRIKE BECAUSE
   THE PLAINTIFF HAS RECEIVED NO TIME TO DISCOVER WHO THE UNKNOWN
   DEFENDANTS ARE. THE COURT SHOULD ALSO DENY THE DEFENDANTS’S
   MOTION FOR A MORE DEFINITE STATEMENT.

      Dr. Simons could not name the individuals who disclosed the details of his UWC

proceeding to the Berliner family, and, by extension, to the world for a second time

because he does not know their identities and he has not had an opportunity to identify

them. The Defendants rely on In re Murphy, 482 F. App’x 624, 627 (2d. Cir. 2012) for the

proposition that “As a general rule, the use of ‘John Doe’ to identify a defendant is not

favored….” In re Murphy, 482 F. App’x 624, 627 (2d. Cir. 2012) (quoting Feliciano v.

County of Suffolk, 419 F.Supp.2d 302, 313 (E.D.N.Y. 2005)) (internal quotations omitted).

However, in their characteristic haste to dispose of Dr. Simons, the Defendants fail to

read and inform the Court of the two sentences immediately following the one on which

they rely from In re Murphy.

      That said, we have recognized that situations arise in which the identity of
      alleged defendants may not be known prior to the filing of a complaint. See
      e.g., Valentin v. Dinkins, 121 F.3d 72, 75–77 (2d Cir.1997). In such
      situations, “the plaintiff should be given an opportunity through discovery to
      identify the unknown defendants.” Id. at 75 (internal quotation marks
      omitted); see also Davis v. Kelly, 160 F.3d 917, 921 (2d Cir.1998) (finding
      it appropriate to allow plaintiffs to identify defendants as “John Doe” at the
      complaint stage “until the plaintiff has had some opportunity for discovery
      to learn the identities of responsible officials.”).
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Id. at 627. Dr. Simons has not received any opportunity to identify the unknown

defendants in the instant action and will be requesting that opportunity from the Court in

the appropriate set of papers.

       The Defendants also mischaracterize the nature of Dr. Simons’ action in

Connecticut Superior Court, which is clearly described in the Complaint, as affording him

an opportunity to discover the Unknown Defendants’ identities. On September 21, 2018,

Dr. Simons filed an emergency action in Connecticut Superior Court, only seeking ex

parte injunctive relief to stop the Defendants from stripping him of his endowed

professorship as they threatened to do in their ultimatum on the previous night. Compl. ¶

38-39; see also Exhibit 4 – Dr. Simons’ Superior Court Complaint. Notably, Dr.

Simons did not plead a claim for damages. Exhibit 4. The Superior Court denied Dr.

Simons the emergency relief that he sought. Exhibit 5 – Superior Court Order Denying

Mot. For Ex Parte Relief. The Defendants then stripped Dr. Simons of his endowed

professorship. Compl. ¶ 39. Dr. Simons subsequently withdrew his action in order to

evaluate his options. Because Dr. Simons did not plead or request anything more than

injunctive relief in his initial action and withdrew it before discovery or amendment, he has

not received the opportunity to discover the Unknown Defendants contrary to the

Defendants’ characterization.

       Dr. Simons’ complaint does not allege facts so vague on the merits as to be

incomprehensible. The only ambiguity that the Defendants need clarified is the identities

of the Unknown Defendants. Dr. Simons will readily provide their identities as soon as he

discovers their identity, if possible, through early discovery as granted by the Court. Dr.

Simons lacks the capacity to comply with an order for a more definite statement unless
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the Court grants him the necessary pre-discovery tools to discover the Unknown

Defendants’ identities. Consequently, an order to provide a more definite statement

identifying the Unknown Defendants would be premature as Dr. Simons has not yet

obtained the ability to comply with such an order.

       Consequently, the Court should deny the Defendants’ Motion to Strike Count

Seven of the Complaint and the Defendants’ Motion, in the alternative, For A More

Definite Statement.

                                    III. CONCLUSION


       For the foregoing reasons, the Plaintiff, Dr. Michael Simons, respectfully requests

the Court to deny the Defendants’ Motion To Dismiss in its entirety, to deny the

Defendants’ Motion to Strike in its entirety, and to deny the Defendants’ Motion For A

More Definite Statement in its entirety.

                                                THE PLAINTIFF



                                                By: _____________________
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                            CERTIFICATE OF SERVICE

       I, NORMAN A. PATTIS, ESQ., hereby certify that, on October 31, 2019, the

foregoing document, MEMORANDUM OF LAW, served in accordance with the Federal

Rules of Civil Procedure, and/or the District of Connecticut’s Local Rules, and/or the

District of Connecticut’s Rules on Electronic Service upon the following parties and

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